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 5                                                          UNITED STATES DISTRICT COURT

 6                                                       NORTHERN DISTRICT OF CALIFORNIA

 7                                                                 SAN FRANCISCO DIVISION

 8   LAURA LOOMER, as an individual, LAURA                                                  Case No.: 3:22-cv-02646-LB
     LOOMER, in her capacity as a Candidate for United                                      Hon. Laurel Beeler
 9   States Congress, and LAURA LOOMER FOR
     CONGRESS, INC.,
10
                              Plaintiffs,
11
     vs.                                                                                       PLAINTIFFS’ OMNIBUS MEMORANDUM OF
12                                                                                            POINTS AND AUTHORITIES IN OPPOSITION
     META PLATFORMS, INC., MARK ZUCKERBERG, in                                                TO DEFENDANTS’ MOTION TO DISMISS THE
13   his capacity as ceo of Meta Platforms, Inc. and as an                                           COMPLAINT AS AMENDED
     individual, TWITTER, INC., and JACK DORSEY, in his
14   capacity as former CEO of Twitter, Inc. and as an
     individual, THE PROCTOR & GAMBLE CO., and
15   DOES 1-100, individuals,

16                            Defendants

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 3

 4
                                                                 ISSUES TO BE DECIDED
 5
         1.     Whether Plaintiffs’ Claims Are Barred By The Doctrine of Res Judicata
 6
         2.     Whether Plaintiffs Have Constitutional Standing
 7
         3.     Whether Plaintiffs’ Claims Are Barred By Section 230 Of The Communications Decency Act (“CDA”) Of
 8
                1996
 9
         4.     Whether Plaintiffs’ Complaint States Claims For Relief
10
                                            MEMORANDUM OF POINTS AND AUTHORITIES
11
                Plaintiffs Laura Loomer (“Ms. Loomer) and Laura Loomer for Congress, Inc. (“LLFC”) have demonstrated
12
     through their First Amended Complaint (“FAC”) that Defendants Meta Platforms, Inc. (“Facebook”), Mark
13
     Zuckerberg (“Zuckerberg”), Twitter, Inc. (“Twitter”), Jack Dorsey (“Dorsey”), and The Proctor & Gamble Co.
14
     (“P&G”) have violated Civil RICO and Civil RICO Conspiracy laws. Plaintiffs have properly alleged and have
15
     pleaded with particularity that Defendants violated every element of the Civil RICO statute, including that
16
     Defendants engaged in predicate acts, and that Defendants conspired to do so.
17
                Moreover, Plaintiffs’ claims are not barred by Section 230 nor by res judicata. First, Defendants do not
18
     have Section 230 immunity because Defendant Twitter’s and Defendants Facebook’s content creation falls outside
19
     the scope of immunity, Plaintiffs do not treat Facebook and Twitter as publishers or speakers, Defendants are liable
20
     for the content they create, and immunity does not extend to the class of claims brought here. Furthermore,
21
     Plaintiffs’ claims are not barred by res judicata because, while Ms. Loomer has previously sued Defendants
22
     Facebook and Twitter, the current action does not replicate any prior claims and is based on newly revealed
23
     information that was unavailable at the time the prior cases were brought.
24
                Therefore, Defendants’ motions to dismiss should be denied. Furthermore, new information is being
25
     released daily regarding Defendant Twitter’s efforts to censor political speech and interfere in American elections
26
     through its collusion with high-level officials in the Executive Branch of the United States government; for this
27

28   PLAINTIFFS’ OMNIBUS MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
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 1   reason, if the Court denies Defendants’ motions to dismiss, Plaintiffs intend to file a motion seeking leave to amend

 2   their complaint to include this additional new information.

 3                                                FACTUAL BACKGROUND

 4            Plaintiff Ms. Loomer is an individual, resident of Florida, and CEO of Laura Loomer For Congress. FAC

 5   ¶¶ 5, 10. Plaintiff Candidate Loomer was the Republican Party nominee in the federal election for U.S. House of

 6   Representatives in Florida District 21 for the 2020 Primary and General Election, and a candidate for the Republican

 7   Party nomination for U.S. House of Representatives in Florida District 11 in the 2022 Primary Election. Id. ¶¶ 6, 7.

 8   Plaintiff LLFC is a Florida corporation that engages in activities that affect interstate and foreign commerce. Id. ¶¶

 9   8, 9.

10            Defendant Dorsey is the former CEO of Twitter and is “ultimately accountable for [Twitter’s] actions as a

11   company.” Id. ¶¶ 14, 138. Beginning September 5, 2018, Twitter, through executives acting in their official

12   capacity—including Dorsey—began publishing assurances to the public that they would not censor content “based

13   on political ideology” and for Twitter to satisfy its mission to facilitate public dialogue it “need[s] to be open to as

14   many viewpoints as possible.” Id. ¶¶ 47, 55. Twitter further assured candidates that its social media platform

15   (“Platform”) was “born to serve the entire public conversation” and that they would verify an account with a blue

16   checkmark (a symbol verifying that an account is not a clone, parody, or scam) after the candidates filed to run for

17   office and won a state primary race. Id. ¶¶ 57, 58, 206.

18            Defendant Zuckerberg is Chairman and CEO of Facebook. Id. ¶¶ 12. Beginning on or about September

19   21, 2019, Facebook, through executives acting in their official capacity—including Zuckerberg—began publishing

20   assurances to the public that speech published by politicians on its Platform would not be subjected to ‘independent’

21   ‘fact checkers’ and that “as a general rule, [voters] should be able to judge what politicians say themselves.” Id. ¶¶

22   49, 55, 210, 223.

23            Defendants Twitter and Facebook are social media platforms that neither speak nor publish; they are

24   merely communications networks that distribute information already spoken or published. Id. ¶¶ 31, 32. These

25   Platforms have transformed over time into public forums that are as integral to a modern society for conveying

26   public opinion as are other common carriers in the performance and distribution of other common goods and

27   services. Id. ¶¶ 25-27. Historically, once these Platforms—like the common carriers that preceded them—have

28   PLAINTIFFS’ OMNIBUS MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
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 1   secured a dominant market share, they primarily increase revenue by engaging in conduct that is dis-advantageous to

 2   competitors and manipulative of the market. Id. ¶¶ 34, 40-46. Consequently, states are beginning to codify the

 3   substantial interest those states have in regulating these Platforms as common carriers and protecting their

 4   constituents from the harmful effects of their market manipulations (Id. ¶¶ 25-30) and the Supreme Court of the

 5   United States has published an opinion that conveys an interest in doing the same.

 6            Twitter and Facebook utilize several mechanisms for furthering their market manipulations. First, they

 7   establish community guidelines that—on their face—seem innocuous, with a particular focus on “hate speech” and

 8   “dangerous individuals.” Id. ¶¶ 68-82, 101-103, 105-107, 111-116, 118-120, 162, 163, 167, 211. However, they

 9   have regularly made exceptions to these guidelines by allowing users to attack straight white males, by censoring

10   conservative and Republican politicians at much higher rates than they censor liberals, and by banning death threats

11   and incitement to violence unless the threat was aimed at someone labeled, as defined by Facebook, as a ‘dangerous

12   individual’ or ‘dangerous organization.’ Id. ¶¶ 146, 150, 159-162, 165-166. Facebook designated Ms. Loomer as a

13   “dangerous individual” with no due process, and it excused violent threats of incitement made against her. Second,

14   they deploy so-called ‘fact-checkers’ who exert activist biases on their Platforms, suppress “clicks,” arrange

15   ‘preferred’ narratives—eerily similar to George Orwell’s Ministry of Truth—from “authoritative sources,” and

16   otherwise make decisions that cannot be appealed by content creators. Id. ¶¶ 89, 91-94, 103, 105, 213, 256, 257. In

17   March of 2020, Facebook ‘fact-checkers’ applied warning labels on about 40 million posts related to the COVID-19

18   ‘pandemic.’ When posts including these labels appeared on a user’s news feed, they did not go on to view the

19   original content in 95% of cases. Id. ¶ 212. Third, they manufacture and deploy algorithms that are designed to

20   target and censor conservatives before content can even be reported by human users, while stoking divisiveness and

21   polarization. Id. 121, 124, 125, 127, 151, 155. Fourth, they deploy ‘moderators’ who, like “unapologetic liberal

22   torchbearer[s]”, exert left-wing bias, ruthlessly censoring conservatives by “shadow banning” while applying

23   different standards and manufacturing exceptions for leftists who violate their community guidelines. Id. 128-135,

24   142-144, 208, 209, 214, 215.

25            Contrary to Twitter’s claim that it was “born to serve the entire public conversation,” or Facebook’s claim

26   that it “can’t be a policeman on the internet,” or Zuckerberg’s claim that “it’s [not] right for [Facebook] to censor

27   politicians or the news in a democracy” (Id. ¶ 210, 223), these Platforms engaged in an astronomical increase in

28   PLAINTIFFS’ OMNIBUS MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
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 1   speech suppression after 2018; which predominantly targeted conservatives, conservative politicians, or anyone

 2   (including investigative journalists) who might question the motive of a political subdivision’s response to COVID-

 3   19. Id. ¶¶ 149-158,168, 170-175, 179, 180, 182, 186-189, 191-193, 200-202, 204, 259.

 4            Defendant P&G is a multinational consumer goods corporation that engages in activities affecting interstate

 5   and foreign commerce and is one of Facebook’s largest corporate advertisement purchasers. Id. ¶ 38. On April 11,

 6   2019, in conjunction with the Association of National Advertisers (“ANA”), P&G formed a “New Media Supply

 7   Chain” that requires that advertising platforms “prove” that their content is “under their complete control.” Id. ¶

 8   233. Shortly thereafter, in May 2019, P&G provided a list of accounts that it wanted to be banned by Facebook.

 9   That list included Ms. Loomer, who was also labeled a “Dangerous Individual” by Facebook when it banned her

10   account. P&G vowed to end its advertiser relationship with Facebook unless Facebook agreed to banning the

11   accounts that P&G wanted banned. Id. ¶¶ 234-237. This information was conveyed to Ms. Loomer and one of her

12   associates by Joshua Althouse, the Public Policy Manager at Facebook out of Facebook’s Washington, D.C. office.

13   Althouse conveyed this information to Ms. Loomer and her associate over text message and several phone calls, in

14   which he stated that P&G was putting pressure on Facebook to ban certain high-profile, conservative users,

15   including Ms. Loomer, or else P&G would not renew its advertising agreement with Facebook. 1 In conjunction

16   with the ANA, P&G applied significant pressure on Facebook, recruiting various other civil rights groups to boycott

17   the Platform for its failure to remove political ads that contain—as the Anti-Defamation League said—“blatant lies.”

18   Id. ¶ 238.

19            On November 21, 2018, Ms. Loomer was permanently banned by Twitter for what Twitter called “hateful”

20   conduct and on May 2, 2019, she was banned from Facebook, who claimed that she was a “dangerous” person; “an

21   opinion that is not capable of being proven true or false.” Id. ¶ 217, 218, 220, 221. On this date (around August 2,

22   2019)—in reliance on Twitter’s and Facebook’s public promises to give candidates access to their Platforms--Ms.

23   Loomer formed LLFC and then announced her candidacy for the Republican nomination for the 21st Congressional

24   District of Florida. Id. ¶ 219, 224. On November 11, 2019, LLFC attempted to set up its official campaign page on

25

26

27   1
       Plaintiffs have discovered the identities of some of the Doe Defendants which Plaintiffs will include as Defendants
     if permitted leave to amend their complaint.
28   PLAINTIFFS’ OMNIBUS MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
     DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT AS AMENDED - 9
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 1   Facebook for Candidate Loomer, which was promptly banned under an ad hominem veil of “hate speech.” Id. ¶¶

 2   225, 226-229, 232. After Plaintiffs inquired about the ban, Facebook changed its policy on political candidates to

 3   exclude candidates who had been previously banned from the Platform, ex post facto. Id. ¶ 230, 232, 244. To add

 4   insult to injury, Political Action Committees that attempted to advertise or promote Ms. Loomer’s campaign had

 5   their advertisements removed while Facebook simultaneously amplified the narratives and advertisements of her

 6   Democrat political opponent. Id. ¶¶ 240-245.

 7            On August 18, 2020, Candidate Loomer won the Republican Primary for U.S. House Florida District 21,

 8   and the following day Twitter announced that Plaintiffs would still not be allowed to use its Platform even though

 9   Ms. Loomer was the official Republican Party nominee on the ballot in her district for the general election. Id. ¶¶

10   246, 247. On February 24, 2021, Candidate Loomer filed and announced her candidacy for Florida’s 21st House

11   District and then switched to Florida’s 11th House District amid the redistricting process in Florida. Id. ¶ 249. Ms.

12   Loomer remained the only de-platformed candidate in the nation and lost the 2020 General Election and the 2021

13   Primary Election—despite significantly out fundraising her opponent—as a direct result of Twitter’s and Facebook’s

14   election interference and gamesmanship. Id. ¶¶ 248, 251.

15            Ms. Loomer has previously sued Defendants Facebook and Twitter for her removal from these Platforms;

16   however, new information, including admissions, has revealed that these Platforms have been suppressing speech

17   content and political candidates as State Actors in conjunction with the Federal Bureau of Investigation and the

18   White House, specifically to undermine the integrity of American elections. Id. ¶¶ 1-3, 20-23, 254-261.

19   Collectively, these Defendants compose the Community Media Enterprise (“CME”), a criminal enterprise, in

20   conjunction with the FBI and other executive branch agencies; the enterprise has engaged in a multiplicity of

21   Predicate Acts through extortion, transportation, transmission, and providing material support and advocating for the

22   overthrow of government, and it has created an artifice of community policies and schemes to exploit and defraud

23   the Plaintiffs and millions of consumers and to cause interference in American politics and it’s elections. Id. ¶ 37,

24   40, 42-46, 279, 262-344.

25            Plaintiffs brought this action because they have suffered significant injury (Id. ¶¶ 252-253) and because the

26   CME presents an immediate and ongoing threat to their community by “creating tools that [rip apart] the social

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 1   fabric of society,” actively interfere with elections, or otherwise dismantle and advocate for the overthrow of

 2   government. Id. 331-344. Plaintiffs allege the defendants are liable for:

 3   •        Racketeer Influenced and Corrupt Organizations (“RICO”)

 4   •        RICO Conspiracy

 5                                                STANDARD OF REVIEW

 6            “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which

 7   relief can be granted ‘tests the legal sufficiency of a claim.’” Conservation Force v. Salazar, 646 F.3d 1240, 1241–

 8   42 (9th Cir. 2011) (quoting Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001)). Review of a Rule 12(b)(6) motion

 9   is generally limited to the pleadings, but a district court may “consider certain materials—documents attached to the

10   complaint, documents incorporated by reference in the complaint, or matters of judicial notice—without converting

11   the motion to dismiss into a motion for summary judgment.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir.

12   2003). Likewise, a court may consider matters that are “capable of accurate and ready determination by resort to

13   sources whose accuracy cannot reasonably be questioned.” Roca v. Wells Fargo Bank, N.A., No. 15-cv-02147-

14   KAW, 2016 WL 368153, at *3 (N.D. Cal. Feb. 1, 2016) (quoting Fed. R. Evid. 201(b)).

15            When determining whether a claim has been stated, the Court accepts as true all well-pled factual

16   allegations and construes them in the light most favorable to the plaintiff. Reese v. BP Exploration (Alaska) Inc.,

17   643 F.3d 681, 690 (9th Cir. 2011). A court may not dismiss a complaint in which the plaintiff has alleged “enough

18   facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct.

19   1955, 167 L.Ed.2d 929 (2007)). A claim is facially plausible when it “allows the court to draw the reasonable

20   inference that the defendant is liable for the misconduct alleged.” Id.

21            If a complaint fails to state a plausible claim, “‘[a] district court should grant leave to amend even if no

22   request to amend the pleading was made, unless it determines that the pleading could not possibly be cured by the

23   allegation of other facts.’” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (en banc) (quoting Doe v. United

24   States, 58 F.3d 494, 497 (9th Cir. 1995)).

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 1                                                       ARGUMENT

 2       I.       Plaintiffs’ Action Is Not Barred By Res Judicata.

 3       Defendants Facebook and Twitter argue that this action is barred against them “under the doctrine of res

 4   judicata because she previously sued [Facebook and] Twitter in a different court for the same harm ostensibly

 5   claimed here–banning her from the platform–and lost.” Twitter’s & Dorsey’s Mot. to Dismiss 6 (Oct. 27, 2022),

 6   ECF No. 79; see Facebook’s & Zuckerberg’s Mot. to Dismiss 6 (Oct. 27, 2022), ECF No. 80.

 7       Res judicata applies when there is “1) an identity of claims, 2) a final judgment on the merits, and 3) identity or

 8   privity between parties.” W. Radio Servs. Co. v. Glickman, 123 F.3d 1189, 1192 (9th Cir. 1997). Defendants

 9   Facebook and Twitter argue that there is an identity of claims between the current action and Ms. Loomer’s prior

10   Freedom Watch complaint, and that Plaintiffs’ civil RICO claim “’could have been raised’ in the prior litigation.”

11   Mot. to Dismiss 6-7, ECF No. 79; Mot. to Dismiss 6-7, ECF No. 80. However, “[t]he Restatement of Judgments

12   notes that development of new material facts can mean that a new case and an otherwise similar previous case do

13   not present the same claim.” Whole Woman’s Health v. Hellerstedt, 579 U.S. 583, 599 (2016) (first quoting New

14   Hampshire v. Maine, 532 U.S. 742, 748 (2001); then citing Restatement (Second) of Judgments §24, Comment f

15   (1980) (“Material operative facts occurring after the decision of an action with respect to the same subject matter

16   may in themselves, or taken in conjunction with the antecedent facts, comprise a transaction which may be made the

17   basis of a second action not precluded by the first.”)). Moreover, “[f]actual developments may show that

18   constitutional harm, which seemed too remote or speculative to afford relief at the time of an earlier suit, was in fact

19   indisputable.” Id. at 601.

20       For instance, the Restatement (Second) of Judgments illustrates the following scenario:

21            The government fails in an action against a defendant under an antitrust statute for lack of
              adequate proof that the defendant participated in a conspiracy to restrain trade. The government is
22            not precluded from a second action against the same defendant in which it relies on conspiratorial
              acts post-dating the judgment in the first action, and may rely also on acts preceding the judgment
23            insofar as these lend significance to the later acts.

24   Restatement (Second) of Judgments, Illustration 12.

25            While Ms. Loomer has indeed previously sued Defendants Facebook and Twitter for her removal from

26   these Platforms, new factual developments reveal that Defendants have been acting as State Actors by colluding

27   with the Federal Bureau of Investigation and the White House to suppress speech and undermine the integrity of

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 1   American elections. FAC ¶¶ 1-3, 20-23, 254-261. 2 While these First Amendment violations may have “seemed too

 2   remote or speculative to afford relief at the time of an earlier suit,” these violations “w[ere] in fact indisputable.”

 3   See Whole Woman’s Health, 579 U.S. at 601. Because of these revelations, the current action raises conspiratorial

 4   acts that post-date the judgment in Freedom Watch, and it relies on acts that preceded the judgment only insofar as

 5   they lend significance to the post-dating acts. See FAC ¶¶ 42-43, 47, 146, 149-150, 159, 206-209, 216-217, 309-

 6   311, 332.

 7             Because it is indisputable that Defendants were constitutionally harming Plaintiffs at the time the Freedom

 8   Watch complaint was filed, and because new information has brought such harms to light and has revealed

 9   conspiratorial acts post-dating the prior judgment, there is no identity of claims between the current and prior

10   actions, and the current claims are new claims that could not have been raised in the prior litigation. Therefore, this

11   action should not be barred by res judicata.

12       II.       Plaintiffs Have Constitutional Standing.

13       For Plaintiffs to have statutory standing, a civil RICO claim requires: "(1) injuries to [plaintiffs' business or]

14   property (2) that were caused by those [RICO] violations.” Bixler v. Foster, 596 F.3d 751, 756 (10th Cir. 2010). In

15   addition, Plaintiffs must show that their harm “was ‘by reason of’ the RICO violation,” which requires Plaintiffs to

16   establish “proximate causation” and “but-for causation.” See Canyon Cnty. v. Syngenta Seeds, Inc., 519 F.3d 969,

17   972 (9th Cir. 2008) (citing Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258, 268 (1992)).

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       If Plaintiffs are permitted leave to amend their complaint, they will include newly released information as further
22   evidence that Defendants interfered with American elections. Such evidence will include information contained in
     the “Twitter Files,” previously undisclosed documents from Twitter, that Twitter’s new owner and CEO, Elon Musk,
23   has permitted Matt Taibbi to release. These files have revealed “that Big Tech works aggressively and in secret with
     government agencies to subvert the outcome of what the rest of us assumed were free and fair elections. During the
24   2020 election, Twitter did this with the help of the FBI, committing censorship on behalf of one candidate while
     working to hurt the other candidate.” Tim Hains, Tucker Carlson: What We Learned From “The Twitter Files”,
25   REALCLEAR                                    (Dec.                                6,                               2022),
     https://www.realclearpolitics.com/video/2022/12/06/tucker_carlson_what_we_learned_from_the_twitter_files.html?
26   amp;amp. In permitting these files to be released, Elon Musk stated that “[t]he obvious reality, as long-time users
     know, is that Twitter has failed in trust & safety for a very long time and has interfered in elections.” Chris Pandolfo,
27   Elon Musk Says Twitter ‘Has Interfered In Elections’, FOX BUS. (Nov. 30, 2022),
     https://www.foxbusiness.com/technology/elon-musk-says-twitter-has-interfered-elections.
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 1            A. Plaintiffs Can Satisfy The Civil RICO Standing Requirements.

 2            Defendants argue that Plaintiffs have failed to satisfy the requirements for standing under RICO because

 3   Plaintiffs failed to “allege a concrete financial injury to her business or property.” Mot. to Dismiss 12, ECF No. 79.

 4   Defendants also stated that: “[A] showing of ‘injury’ requires proof of concrete financial loss, and not mere ‘injury

 5   to a valuable intangible property interest.’” Id. (citing Oscar v. Univ. Students Co-op. Ass’n, 965 F.2d 783, 785 (9th

 6   Cir. 1992). However, they erroneously ignored the holding in National Organization for Women, where the

 7   Supreme Court reversed the Seventh Circuit and ruled that RICO does not require an economic motive. See Nat'l

 8   Org. for Women v. Scheidler, 510 U.S. 249, 262, 114 S. Ct. 798, 806 (1994). The Court came to this conclusion

 9   based on the “plain language of § 1962(c) and the definition of ‘pattern of racketeering activity’ in § 1961(1)” [and]

10   that “Congress’s inclusion in § 1962(c) of enterprises whose activities ‘affect’ interstate or foreign commerce further

11   demonstrated that a profit-seeking motive” is not required. Id. at 258-59. Here, Plaintiffs have suffered from

12   reputational damage, lost employment opportunities due to employers’ fear of being similarly banned for mere

13   association with Ms. Loomer per Defendants’ policies, and lost future profits, at the very least. See FAC ¶ 252.

14   Furthermore, Ms. Loomer’s candidacy for U.S. Congress suffered “reputational damage, deprivation of equal access

15   to voters and [a loss and decline] of campaign donations, and the loss of votes in a federal election.” Id. at ¶ 253.

16   Moreover, courts have held that the claims of reputational and other damage caused by a defendant’s actions satisfy

17   the standing requirement. See Lewis v. Lhu, 696 F. Supp. 723, 727 (D.D.C. 1988).

18            The Plaintiffs have pleaded sufficient facts to show that the RICO claims are the proximate and but-for

19   cause of their injuries. The Plaintiffs are allowed to bring RICO actions for acts of public corruption that resulted in

20   injury to them. See Waste Mgmt. of Louisiana, L.L.C. v. River Birch, Inc., 920 F.3d 958, 964-73 (5th Cir. 2019),

21   cert. denied, 140 S. Ct. 628, 205 L. Ed. 2d 390 (2019); Empress Casino Joliet Corp. v. Balmoral Racing Club, Inc.,

22   831 F.3d 815, 827 (7th Cir. 2016). In addition, the “direct victim may recover through RICO whether or not it is the

23   direct recipient of the false statements.” See Phoenix Bond & Indem. Co. v. Bridge, 477 F.3d 928, 932 (7th Cir.

24   2007) (emphasis in original), aff’d, 553 U.S. 639 (2008). Here, Plaintiffs can show that all their injuries are

25   attributed to the Defendants through a pattern of racketeering activity and for the unlawful purpose of intentionally

26   defrauding and extorting Plaintiffs and others. Defendants committed the predicate acts of committing wire fraud,

27   maliciously threatening to injure property and reputation by written communications, assistance to terrorist

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 1   organizations and advocacy for the overthrow of the government (see FAC ¶ 114), which directly and indirectly

 2   gave rise to Plaintiffs’ injuries (i.e., removal from Twitter, subsequent reputational, financial, and consequential

 3   harms, etc.). The predicate acts are reasonably foreseeable to cause her injuries to satisfy proximate cause and the

 4   predicate acts were also the actual (but-for) cause of Plaintiffs’ injuries.

 5            Plaintiffs are not required to allege that they were the target of the predicate fraudulent acts. A plaintiff

 6   only needs to allege that defendants' fraud caused plaintiffs' injuries, either directly or indirectly. See Terre Du Lac

 7   Ass'n, Inc. v. Terre Du Lac, Inc., 772 F.2d 467 (8th Cir. 1985), cert. denied, 475 U.S. 1082, 89 L. Ed. 2d 718, 106 S.

 8   Ct. 1461 (1986); Pandick, Inc. v. Rooney, 632 F. Supp. 1430, 1433 (N.D. Ill. 1986). When it comes to the wire

 9   fraud, Plaintiffs showed that the Defendants committed fraud when they knowingly attempted to mislead users (who

10   viewed Ms. Loomer’s social media profiles or wanted to view her profiles) to visit other political organizations and

11   candidates, instead of her. Defendants persuaded users that Plaintiffs were not worthy of donations by incorrectly

12   labeling Ms. Loomer’s page as false, fraudulently deactivating and banning Ms. Loomer and her political page and

13   the option of giving donations along with that, deterring users through its deceptive ‘fact-checking’ notifications

14   towards profiles of candidates that directly compete with Ms. Loomer for campaign donations and votes for office,

15   and by labeling Plaintiffs as “dangerous.” This is evidenced by the fact that, on or about September 19, 2019,

16   Defendant Zuckerberg admitted that he was aware Facebook’s ‘factcheckers’ exhibited clear activist bias and have

17   done so for a long time. See Allum Bokhari, Report: Mark Zuckerberg admits Facebook’s ‘clear bias,’ dependence

18   on ‘activist’ fact checkers, BREITBART (Sept. 19, 2019).

19            Further, Defendants engaged in wire fraud by intentionally attempting to persuade social media users to

20   redirect their attention and donate money to Defendants’ purported supporters or political allies that Defendants

21   have pecuniary connections with instead. See United States v. Rezko, 776 F. Supp. 2d 651 (N.D. Ill. Oct. 2, 2007)

22   (holding that wire fraud was adequately pleaded where defendant was alleged to have sought to cause money to go

23   to defendant's "associates"). Defendants could possibly argue that there are no monetary connections or enough

24   evidence to show a financial relationship between Defendants and Plaintiffs’ political rivals. However, in Spano the

25   court stated that, "[a] participant in a scheme to defraud is guilty even if he is an altruist and all the benefits of the

26   fraud accrue to other participants." United States v. Spano, 421 F.3d 599, 603 (7th Cir. 2005) (upholding mail fraud

27   conviction). Here, Defendants could possibly state that they are not engaging in fraud because they support different

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 1   political candidates and are not profiting from their promotion of Plaintiffs’ rivals. Still, this provision also applies

 2   where the money earned through the deceit goes to individuals or candidates unrelated to the fraud, including "to

 3   charities." See United States v. Sorich, 523 F.3d 702, 709-10 (7th Cir. 2007).

 4            In addition, although Defendants' services are generally free for users, they are still social media businesses

 5   that make money through advertisements on their site and subsequently by satisfying the needs of their top

 6   advertisers in order to keep them happy and generating income in the process. Defendants further engaged in fraud

 7   when they took away from users the right to decide on which candidate they wanted to follow or whether or not to

 8   donate to a political candidate of their choosing. By blocking/deactivating Ms. Loomer’s profile, Defendants took a

 9   property right away from Plaintiffs, as well as from the users their fraud was directed to. Even though Defendants'

10   acts might not directly result in a financial loss to the owner, the “wire fraud statute” safeguards the owner's ability

11   to control how the money is spent. See Carpenter v. United States, 484 U.S. 19, 25-28 (1987); see also McNally v.

12   United States, 483 U.S. 350, 360 (1987). Here, all of Defendants’ misrepresentations about the falsity of Ms.

13   Loomer’s profile are related to the Defendants’ claim that she is a “dangerous individual” solely due to her political

14   party and political views, and its implied commitments to refrain from conduct or ideas not otherwise permitted by

15   its Terms of Service. Thereby, Defendants wrongfully induced Plaintiffs to rely on their false assurances of

16   inclusion and fairness in the election process. Proof of this is exhibited when Defendant Zuckerberg said, “We think

17   people should be able to hear what politicians have to say. I don’t think it’s right for tech companies to censor

18   politicians in a democracy.” FAC ¶ 223.

19            Finally, Plaintiffs’ rights to manage their own political campaign profile, the equal right to spread

20   knowledge and share that profile page, and the ability to lobby donations from users were all valuable items of

21   property that Defendants took from Plaintiffs as a result of the dishonest acts, misrepresentations, and omissions that

22   were intended to deceive Plaintiffs and Platform users indirectly. Plaintiffs suffered injuries to reputation, monetary

23   and financial loss, as well as a loss in votes when Defendants controlled the fairness of the election process by

24   blocking Plaintiffs’ profiles while leaving profiles up of Plaintiffs’ rivals. In Committee for Idaho’s High Desert,

25   Inc., the court stated, “[I]t is well established that a nonprofit [candidate’s] reputational damage or loss of donation

26   revenue constitutes actionable commercial injury.” See Committee for Idaho's High Desert, Inc. v. Yost, 92 F.3d

27   814 (9th Cir. 1996).

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 1            The fraudulent actions that Defendants committed clearly directly and indirectly connect to Plaintiffs’

 2   injuries. In addition, the acts of fraud are all related to the other predicate acts including extortion, participation in

 3   terrorism, and overthrowing of the government. Here, the fraud is connected to extortion by the wrongful use of

 4   fear of public ridicule and economic harm associated with being banned and labeled a “dangerous individual,” and

 5   by allowing Defendants to obtain intangible property from Plaintiffs. FAC ¶ 110. Defendants used written wire

 6   communications to maliciously threaten, to injure Plaintiffs’ reputations, and to fraudulently expose Plaintiffs to

 7   negative interpretations. In addition, Defendants extorted with the intent to extort any pecuniary advantage

 8   whatsoever, or to compel the person so threatened, or any other person, to do any act or refrain from doing any act

 9   against his or her will, which violates the Florida Extortion Statute. See Fla. Stat. § 836.05. The extortion claim is

10   connected to the wire fraud charge and overall racketeering case through “instances where the obtaining of the

11   property would itself be ‘wrongful.’” As explained above, Defendants obtained property directly and indirectly

12   from Plaintiffs and Platform users. See United States v. Enmons, 410 U.S. 396, 400 (1973); FAC ¶¶ 363-365.

13            Next, the wire fraud is connected to terrorism by the following pieces of evidence from Plaintiffs’ First

14   Amended Complaint. “Hezbollah and Hamas maintained a widespread presence on Facebook, YouTube and

15   Twitter . . . with many leaders of the organizations, having a Twitter Feed and Facebook page.” FAC ¶ 312.

16   “Carlos Monje, Jr., U.S. policy director for Twitter, stated that Twitter allows accounts associated with political

17   arms of groups designated by the U.S. government as “foreign terrorist organizations.” Id. ¶ 314. Defendant

18   Facebook “allowed these [terrorist] pages to remain searchable and accessible by its user base through basic

19   keyword searches for up to six weeks, and further helped ‘the extremist groups because it allow[ed] users to like the

20   pages, potentially providing a list of sympathizers for recruiters.’” Id. ¶ 313. Finally, on August 17, 2021, “two

21   Taliban spokesmen, Suhail Shaehee and Zabihullah Mujahid had Twitter accounts which have been active for years

22   with more than 351,000 and 310,000 Twitter followers, respectively.” Id. ¶ 317.

23            Defendants blatantly expressed that they were aware of the terrorist activities and terrorist leaders’ accounts

24   present on their sites, yet they removed and blocked Ms. Loomer’s account and labeled her a “dangerous

25   individual.” Due to the fact that Defendants are run by their advertisers, there is evidence to show a reasonable

26   inference that one of those advertisers is a terrorist organization. There is no other reason to justify the fact that

27   Defendants think that Plaintiff is more dangerous than a known terrorist leader that murders people. Thus,

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 1   Plaintiffs’ predicate claim of terrorism against the Defendant is connected to the wire fraud by communications

 2   present online and as a whole and relates to the overall claim of racketeering and civil RICO.

 3            Lastly, the wire fraud is connected to overthrowing the government by the Defendants’ use of force or

 4   violence in advocating for overthrowing the government. See 18 U.S.C. §2385. Here, through wire

 5   communications, the Defendants’ attempt to overthrow the government is associated with the terrorist activities and

 6   presence on Defendants’ Platforms, the wrongful and defamatory banning of Ms. Loomer’s account, and

 7   manipulation of the election process by controlling and taking away property rights belonging to Plaintiffs and other

 8   Platform users. Thus, there is enough to plausibly show a connection between overthrowing the government and

 9   wire fraud, and overall, the link to the predicate act of racketeering charge. Thus, such allegations plainly satisfy the

10   standing requirements for a civil RICO claim.

11            B. Plaintiffs Can Satisfy The Constitutional Standing Requirements.

12            To meet the constitutional standing requirement, a plaintiff must show (1) an injury in fact (2) that is fairly

13   traceable to the actions of the defendant and (3) that likely will be redressed by a favorable decision. See Bennett v.

14   Spear, 520 U.S. 154, 162, 117 S. Ct. (1997); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61, 119 L. Ed. 2d

15   351, 112 S. Ct. 2130 (1992). “At the pleading stage, general factual allegations of injury resulting from the

16   defendant's conduct may suffice." See Lujan, 504 U.S. at 561. Here, Plaintiffs have made "general factual

17   allegations" sufficient to plead constitutional standing. Id. Whereas, through the facts, evidence, circumstantial

18   evidence, predicate acts, and overall claim of wire fraud Plaintiffs have made showings that go beyond the minimum

19   general factual allegations standard of constitutional standing.

20            Plaintiffs have constitutional standing based on all the arguments and facts used in the RICO civil claim

21   above. In addition to the facts and evidence shown above, Plaintiffs can independently show injury in fact through

22   both economic and non-economic damages. See Waste Mgmt. of Louisiana, L.L.C., 920 F.3d at 964-73; see also

23   Envtl. Tectonics v. W.S. Kirkpatrick, Inc., 847 F.2d 1052, 1067 (3d Cir. 1988) (holding that business competitor had

24   standing to challenge defendant’s alleged use of bribery of foreign government officials to obtain contracts). Many

25   courts have held that injuries involving non-economic assets including business ones, “such as lost customers or

26   business relationships” are identifiable as an injury-in-fact. See Diaz v. Gates, 420 F.3d 897, 899-900 (9th Cir.

27   2005) (illustrating employers who depressed laborers’ wages by illegally hiring undocumented workers at below-

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 1   market wages); see also Commercial Cleaning Servs., L.L.C. v. Colin Serv. Sys., Inc., 271 F.3d 374, 380-84 (2d Cir.

 2   2001) (holding that the company had standing to assert RICO claims for lost profits against its direct competitor

 3   whose hiring of illegal immigrants allowed it to submit lower bids); Procter & Gamble Co. v. Amway Corp., 242

 4   F.3d 539, 542 (5th Cir. 2001) (reversing dismissal of RICO claims based on defendant’s alleged spreading of rumor

 5   to lure plaintiff’s customers away); Alexander Grant & Co. v. Tiffany Indus., Inc., 770 F.2d 717, 719 (8th Cir. 1985)

 6   (holding injury to reputation as national accounting firm compensable under RICO); Lewis, 696 F. Supp. at 727

 7   (holding that damages for reputation of telecommunications consultant caused by “smear campaign” recoverable

 8   under RICO).

 9            Through the facts above, Plaintiffs have proven how these injuries to reputation, loss of wages, lost income

10   through campaign contributions, and lost votes are traceable directly or indirectly to the actions of the Defendants.

11   It is capable of being redressed by re-activating Ms. Loomer’s profile account, by retracting Defendants’ claims of

12   her being a “dangerous individual,” actual and compensable damages due to the loss of income, and treble damages

13   due to the harm and injuries sustained because of the Defendants’ actions. Thus, Plaintiffs have sufficient

14   constitutional standing to go forward with the suit and deny the motions to dismiss.

15            C. Defendants Jack Dorsey’s And Mark Zuckerberg’s Individual Actions Are Fairly Traceable To

16                Plaintiffs’ Injuries

17            Separately, Defendants Facebook, Twitter, Jack Dorsey and Mark Zuckerberg violated 18 U.S.C. §1951 by

18   conspiring, attempting, and obstructing, delaying and affecting commerce through extortion by wrongfully using the

19   fear of the public disgrace and economic harm associated with being banned and labeled a dangerous individual.

20   FAC ¶ 364. Zuckerberg and Dorsey constituted an enterprise in fact and engaged in and whose activities affect

21   interstate commerce with common goals of making money, acquiring influence over other enterprises and entities,

22   and other pecuniary and non-pecuniary interests. Id. ¶ 350.

23            The evidence that links Dorsey individually to the charges include:

24   •        “[T]he New York Times reported on an investigation which found that governments were successfully

25   using Twitter to promote favorable content, attack critical voices, and otherwise shape what average people found

26   when online.” Id. ¶ 42.

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 1   •        “On or about November 4, 2019, Defendant Twitter’s government relations team told candidates seeking

 2   verification that Twitter would not give new contenders a ‘blue checkmark’ until after the contenders won a state

 3   primary.” Id. ¶ 57.

 4   •        “Defendant Twitter’s civic integrity policy applies special fact-checking scrutiny to tweets that might

 5   interfere with people’s participation in democratic processes, a level of scrutiny only shared with the policy of

 6   harmful information related to COVID 19.” Id. ¶ 69.

 7   •        “On or about March 24, 2020, Twitter confirmed that propaganda from Chinese officials that attempts to

 8   blame the U.S. for the coronavirus is permitted on the platform.” Id. ¶ 83.

 9   •        “On or about May 27, 2020, Defendant Dorsey reaffirmed Twitter’s commitment to fact-check information

10   related to elections.” Id. ¶ 91.

11   •        “On or about May 27, 2020, Defendant Jack Dorsey stated, ‘there is someone ultimately accountable for

12   our actions as a company, and that’s me.’” Id. ¶ 138.

13            Additionally, Defendant Zuckerberg has individual standing connected to the claims asserted by Plaintiffs

14   through the statements and facts listed above showing his control over Facebook’s censoring and fact-checking. In

15   addition, Zuckerberg as the CEO, like Dorsey, ultimately had the final say and ability to oversee and take part in the

16   censorship and fraud operation aimed at the Plaintiffs. Id. ¶ 12. Furthermore, Zuckerberg has been aware of, if not

17   directly involved in, a multitude of Facebook's censoring choices and bias, such as:

18   •        “On or about September 19, 2019, Defendant Zuckerberg admitted to U.S. Senator Josh Hawley that he

19   was aware Facebook’s factcheckers exhibited clear activist bias and have done so for a long time.” Id. ¶ 89.

20   •         “On August 25, 2022, Mark Zuckerberg appeared on The Joe Rogan Experience, the largest podcast in the

21   world, hosted by Joe Rogan. During the interview, he made the stunning admission that Facebook, at the request of

22   the FBI, algorithmically suppressed stories about the Hunter Biden laptop scandal during the weeks leading up to the

23   2020 Presidential election.” Id. ¶ 254.

24            These are just a few of the statements that Zuckerberg has made in public or under oath before the U.S.

25   Senate Commerce and Judiciary Committees, which demonstrate his direct and personal involvement in decisions

26   that are made by Facebook, including the removal and banning of Plaintiffs’ profiles. Id. ¶¶ 309-311. Thus, a

27   reasonable inference may be drawn from the facts and comments supporting this claim that Zuckerberg and Dorsey

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 1   were involved in actions that are fairly traceable to Plaintiffs’ injuries. Ultimately, Defendants’ motions should be

 2   denied since Plaintiffs have shown sufficient proof to meet both the civil RICO and constitutional standing

 3   requirements.

 4       III.       Plaintiffs’ Claims Are Not Barred By Section 230 Of The CDA

 5       Section 230(c)(1) of the CDA “protects from liability (1) a provider or user of an interactive computer service

 6   (2) whom a plaintiff seeks to treat . . . as a publisher or speaker (3) of information provided by another information

 7   provider.” Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093, 1097 (9th Cir. 2019) (internal citation omitted).

 8              A. Twitter And Facebook’s Content Creation Falls Outside The Scope Of Immunity

 9              Defendants fail to acknowledge that CDA immunity “applies only if the interactive computer service

10   provider is not also an ‘information content provider.’” See Fair Hous. Council of San Fernando Valley v.

11   Roommates.Com, LLC, 521 F.3d 1157, 1162 (9th Cir. 2008). An information content provider is defined as “any

12   person or entity that is responsible, in whole or in part, for the creation or development of information provided

13   through the Internet or any other interactive computer service.” 47 USC § 230(f)(3). Here, Facebook is clearly a

14   content provider as well as an interactive computer service provider as evidenced by the fact that "Facebook

15   rearranges text and images provided by members . . . by grouping such content in a particular way with third-party

16   logos, Facebook transformed the character of words, photographs, and actions into a commercial endorsement.” See

17   Asia Econ. Inst. v. Xcentric Ventures LLC, No. CV 10–01360–SVW (PJW), 2011 WL 2469822, at *6–7 (C.D.Cal.

18   May 4, 2011). As such, the same argument applies to Twitter as well; Facebook and Twitter are trying to escape

19   liability by hiding behind Section 230 of the CDA. Immunity is provided to interactive computer service providers

20   only to protect them from liability for content shared on their Platform by third parties.

21              Both the Defendants and Plaintiffs can agree that Twitter is an interactive computer service provider

22   because it is an online messaging board platform. See 47 U.S.C. § 230(f)(2); Dyroff, 934 F.3d at 1097 (stating that

23   the “prototypical” example is an “online messaging board”); Brittain v. Twitter, Inc., 2019 WL 2423375, at *2 (N.D.

24   Cal. June 10, 2019) (holding that Twitter is an interactive computer service). Therefore, Twitter would meet the

25   first prong like Defendants claim, but it will not be satisfied if the Defendant is also an information content provider.

26   Nonetheless, according to Roomates.com, even displaying user information such as age, hometown, college, likes,

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 1   and occupation would make Defendants information content providers as well as interactive computer service

 2   providers within the meaning of the statute. See Roommates.Com, 521 F.3d. at 1174.

 3             Besides sharing information about their users, Twitter has also employed fact checkers to flag posts that

 4   could be misleading and inform the users viewing the post why it would be misleading and sharing information as a

 5   result.

 6             "Like the defendant in Roommate, which was alleged to have purposefully designed its website to filter

 7   listings in a discriminatory manner, [Facebook and Twitter] defendants are alleged to have purposefully designed

 8   their platforms to filter posts and accounts in an anticompetitive manner.” Dangaard v. Instagram, LLC, No. C 22-

 9   01101 WHA, 2022 WL 17342198 (N.D. Cal. Nov. 30, 2022). Here, Defendants’ “filtration tools” are essentially

10   designed to “facilitate anticompetitive conduct.” See Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1101 n.3 (9th Cir.

11   2009). As a result, the first prong in considering Section 230(c)(1) immunity is not met.

12             B. Plaintiffs Do Not Treat Facebook And Twitter As Publishers Or Speakers.

13             Next, Plaintiffs treating Defendants as publishers by holding them liable for editorial functions such as

14   removing content or profiles would satisfy the second prong. However, immunity only extends so far as to minor

15   alterations from Defendants, such as “correcting spelling, removing obscenity or trimming for length.” See

16   Roommates.com, 521 F.3d at 1169. Rather, Defendants’ alleged actions go far beyond editing font, graphics,

17   spelling, or removal to the point that through their manipulation of content, promotion of advertisements, and

18   controlling the narrative they have become information content providers, and are treated more like creators than

19   publishers, to which immunity does not extend.

20             In addition, Defendants will not be entitled to immunity when their Platform, “materially contribut[es] to

21   actionable content.” Id. at 1168. This occurs when a service provider such as Defendants are “directly involved

22   with developing and enforcing a system that subjects subscribers to and directly participates in developing

23   [actionable content].” Id. at 1174; see also Opperman v. Path, Inc., 87 F. Supp. 3d 1018, 1043-45 (N.D. Cal. 2014);

24   Swift v. Zynga Game Network, Inc., 2010 WL 4569889, at *4-6 (N.D. Cal. Nov. 3, 2010). In Zango, Inc. v.

25   Kaspersky Lab, Inc., 568 F.3d 1169 (9th Cir. 2009), the judge warned of “a web browser configured by its provider

26   to filter third-party search engine results so they would never yield websites critical of the browser company or

27   favorable to its competitors.”

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 1            Thus, “filtering practices aimed at suppressing competition” would not satisfy the prong, because they

 2   would no longer be treated as publishers, but information providers. Other kinds of actionable content would also

 3   include collecting, storing, and using consumers’ data, targeted ads, deceptive ads, and subjecting users to scams and

 4   counterfeit merchandise. As a result, the second prong in considering Section 230(c)(1) immunity is not met.

 5            C. Defendants Are Liable For Content They Create, And Immunity Does Not Extend To The Class

 6                 Of Claims Brought Forward.

 7            The third prong would not be satisfied due to the actions taken by Defendants beyond just banning

 8   Plaintiffs’ profiles. Defendants manipulated, filtered, and provided “fact checked information,” which resulted in

 9   them becoming the suppliers and creators of information and information content providers, rather than publishers

10   of information provided by another information content provider. See §230(c)(3).

11            The Communications Decency Act §230 does not impose “a general immunity from liability deriving from

12   third-party content.” See Barnes, 570 F.3d 1096 at 1100. Rather, §230 expressly excludes only four classes of

13   claims from its broad grant of immunity: (i) claims involving a “Federal criminal statute,” (ii) “any law pertaining to

14   intellectual property,” (iii) “any State law that is consistent with this section,” and (iv) “the Electronic

15   Communications Privacy Act.” § 230(e)(1)-(4). Thus, Plaintiffs’ causes of action concerning RICO, racketeering,

16   and terrorism would bar Defendants’ claim of general immunity. This would also apply to Jack Dorsey in his

17   capacity as CEO and the actions of the company being attributed to him.

18            Lastly, it is sufficient to acknowledge that Defendants’ online presence and conduct in this case are

19   different from other service providers that have been granted immunity under §230. Defendants fail to satisfy all

20   three prongs of the statute and do not acknowledge their status as information content providers. Defendants are not

21   treated as publishers under the statute due to the significant involvement and manipulation by Defendants on the

22   information shared on their platform, including the ban of Plaintiffs’ accounts and fact-checking by them displayed

23   on posts. Thus, because Defendants exhibited such unlawful conduct, their motions to dismiss under CDA §230

24   should be denied.

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 1       IV.       Plaintiffs’ RICO Claim (Count I) Is Supported By Sufficient Facts And A Cognizable Legal

 2                 Theory For Relief.

 3       To plead a civil RICO claim under 18 U.S.C. § 1962(c), Plaintiffs must allege the following elements: “(1)

 4   conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity (known as ‘predicate acts’) (5) causing

 5   injury to plaintiff’s business or property.” Bronner v. San Francisco Sup. Ct., No. C 09-5001 SI, 2010 U.S. Dist.

 6   LEXIS 20486, at *13 (N.D. Cal. Mar. 8, 2010) (quoting Grimmett v. Brown, 75 F.3d 506, 510 (9th Cir. 1996)). As a

 7   preliminary matter, Plaintiffs have addressed the fifth element above in section II, which demonstrated that Plaintiffs

 8   have standing to bring a RICO claim against Defendants.

 9             A. Defendants Engaged In Conduct Befitting A RICO Claim.

10             Plaintiffs have established that Defendants engaged in the conduct required to satisfy § 1962(c). “The

11   conduct requirement under § 1962(c) means that ‘[i]n order to “participate, directly or indirectly, in the conduct of

12   such enterprise’s affairs,” one must have some part in directing those affairs.’” Mitsui O.S.K. Lines, Ltd. v.

13   Seamaster Logistics, Inc., 913 F. Supp. 2d 780, 791 (N.D. Cal. 2012) (quoting Eclectic Props. East, LLC v. Marcus

14   & Millichap Co., No. C-09-00511 RMW, 2012 U.S. Dist. LEXIS 28865, at *6 (N.D. Cal. Mar. 5, 2012) (alteration

15   in original)). “Simply performing services for the enterprise does not rise to the level of direction, whether one is

16   ‘inside’ or ‘outside.’” Walter v. Drayson, 538 F.3d 1244, 1249 (9th Cir. 2008).

17             Defendants Twitter and Dorsey argue that Plaintiffs “do[] not allege that the Twitter Defendants did

18   anything other than direct Twitter’s own affairs by moderating content on and access to its platform.” Mot. to

19   Dismiss 27, ECF No. 79. However, Plaintiffs have indeed shown that Twitter directed the affairs of the enterprise

20   by illegally conspiring with “individuals within the FBI and other parts of the Executive Branch of the United States

21   government” to ban certain individuals from the Platform in attempt to suppress their speech across digital platforms

22   and by engaging in fraudulent schemes. FAC ¶¶ 2, 37, 42, 83, 91, 96-98, 103, 247, 259, 264, 305. Defendants

23   Facebook, Zuckerberg, and P&G similarly directed the affairs of the enterprise by coordinating which individuals

24   should be banned from Platforms to suppress those individuals’ speech and online presence. Id. ¶¶ 50, 63-65, 72-74,

25   89, 92, 108, 110, 117, 125, 128, 131, 143-144, 146, 159-168, 177-178, 180-182.

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 1            B. Defendants Formed An Enterprise.

 2            Plaintiffs have established that Defendants formed an enterprise that performed the aforesaid conduct. “An

 3   ‘enterprise’ is statutorily defined as ‘any individual, partnership, corporation, association, or other legal entity, and

 4   any union or group of individuals associated in fact although not a legal entity.’” Bunnett & Co. v. Gearheart, No.

 5   17-cv-01475-RS, 2018 U.S. Dist. LEXIS 31873, at *7 (N.D. Cal. Feb. 27, 2018) (quoting 18 U.S.C. § 1961(4)).

 6   “For purposes of a Section 1962(c) claim, an enterprise is ‘an entity, for present purposes a group of persons

 7   associated together for a common purpose of engaging in a course of conduct.’” Id. at *7-8 (quoting United States

 8   v. Turkette, 452 U.S. 576, 583, 101 S. Ct. 2524, 69 L. Ed. 2d 246 (1981)). To establish such an enterprise, “a

 9   plaintiff must provide both evidence of an ongoing organization, formal or informal, and evidence that the various

10   associates function as a continuing unit.” Id. at *8 (quoting Turkette, 452 U.S. at 583). Further, “[t]he Ninth Circuit

11   has expressly rejected that a plaintiff need show or allege ‘any particular organizational structure, separate or

12   otherwise.’” Id. (quoting Odom v. Microsoft Corp., 486 F.3d 541, 551 (9th Cir. 2007)). “The Supreme Court has

13   clarified that an enterprise must be ‘separate and apart from the pattern of activity in which it engages.’” Id.

14   (quoting Turkette, 452 U.S. at 683). Therefore, to adequately plead that an enterprise exists, “Plaintiffs need to

15   allege (1) a common purpose among defendants, (2) ongoing organization, formal or informal, and (3) a continuing

16   unit.” Id.

17            Defendants argue that Plaintiffs have not plausibly alleged that Defendants had a relationship, association,

18   or contact with one another, nor that Defendants knew the purpose and nature of an enterprise. Mot. to Dismiss 13-

19   14, ECF No. 79; Mot. to Dismiss 9-10, ECF No. 80; P&G’s Mot. to Dismiss 1 (Oct. 27, 2022), ECF No. 81.

20   Defendants further argue that Plaintiffs’ allegations regarding a common purpose among Defendants do not

21   plausibly allege a RICO enterprise because the Platforms’ content moderation is “lawful parallel conduct.” Mot. to

22   Dismiss 10, ECF No. 80; Mot. to Dismiss 1, 3, ECF No. 81. Moreover, Defendants argue that Plaintiffs did not

23   plausibly allege that Defendants coordinated their activities nor worked as a cohesive unit. Mot. to Dismiss 10, ECF

24   No. 80; Mot. to Dismiss 2-3, ECF No. 81.

25            However, Plaintiffs have first established that Defendants had the common purpose of suppressing speech,

26   censoring news coverage, defrauding Plaintiffs and others, and undermining elections. FAC ¶¶ 1, 3, 304, 359-360.

27   Contrary to Defendants claiming they had no knowledge of a common purpose and that their content moderation

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 1   was “lawful parallel conduct,” Plaintiffs have demonstrated that Defendants colluded with one another and with

 2   individuals within the FBI and other parts of the Executive Branch to determine which individuals to ban from their

 3   Platforms. Id. ¶ 37. They acted together to ensure that these banned individuals would have no ability to share their

 4   political views nor promote their campaigns on any major internet Platforms, and to shape public narrative of

 5   politicians, political ideologies, and political events. Id. ¶¶ 35, 42, 48, 50, 57-69, 72-74, 89, 91-98, 108, 110, 117,

 6   125, 128, 131, 143-144, 146, 149-150, 159-215.

 7            Next, Plaintiffs have established that Defendants formed an ongoing organization. Under the direction of

 8   the FBI, Defendants Facebook and Zuckerberg algorithmically suppressed stories about the Hunter Biden laptop

 9   scandal leading up to the 2020 election in an effort to influence the 2020 presidential election in Joe Biden’s favor.

10   Id. ¶¶ 254-58. Further, White House officials and the current Biden administration directed Defendants Twitter and

11   Dorsey to ban certain individuals from the platform to suppress criticisms against the government. Id. ¶ 259.

12   Moreover, Defendant P&G required Defendants Facebook and Zuckerberg to ban certain individuals from Facebook

13   unless those individuals disavowed the Proud Boys. Id. ¶ 234-239. In this way, Defendants comprised an

14   organization acting with the common purpose of suppressing speech and influencing elections. 3

15            Finally, Plaintiffs have demonstrated that Defendants’ organization is a continuing unit. As of August 23,

16   2022, when Candidate Loomer lost the Republican primary election for U.S. House Florida District 11 by less than

17   6,000 votes, her campaign was the only de-platformed campaign in the United States. Id. ¶ 251. If Defendants had

18   not continued their organization with the common purpose of suppressing Plaintiffs’ speech, then Candidate Loomer

19   could have shared her political ideologies to a wider audience of voters – an opportunity which was afforded to her

20   opponent. Id.

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       Further, when President Donald Trump recently sued Twitter and Dorsey alleging that they violated the First
     Amendment by banning his account while he was still a sitting United States President, Defendants Twitter and
25   Dorsey were represented by Wilmer Cutler Pickering Hale and Dorr LLP, the law firm that currently represents
     Defendants Facebook and Zuckerberg in this RICO case. See Mot. to Appear Pro Hac Vice, ECF No. 40 (Sept. 1,
26   2021), Donald Trump, et al. v. Twitter, Inc. & Dorsey, No. 1:21-cv-22441. This exemplifies that Defendants are
     involved in an organization which retains the same law firms for the same purposes – violating freedom of speech,
27   coordinating and sharing legal resources, keeping valuable information concealed from the public, and interfering in
     elections.
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 1              Therefore, Plaintiffs have established that Defendants had (1) a common purpose, (2) an ongoing

 2   organization, and (3) a continuing unit, such that Defendants should be considered an enterprise under 18 U.S.C. §

 3   1962(c).

 4              C. Defendants Displayed A Pattern Of Racketeering Activity.

 5              Plaintiffs have adequately alleged that Defendants displayed a pattern of racketeering activity. A pattern of

 6   racketeering activity requires two or more acts of racketeering and “requires the showing of a relationship between

 7   predicates [] and of the threat of continuing activity . . . .” Gidding v. Anderson, No. C 07-04755 JSW, 2009 U.S.

 8   Dist. LEXIS 24351, at *23 (N.D. Cal. Mar. 13, 2009) (quoting H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229,

 9   232, 238 (1989) (alteration in original)). “Predicate acts are related if they have ‘the same or similar purposes,

10   results, participants, victims, or methods of commission, or otherwise are interrelated by distinguishing

11   characteristics and are not isolated events.’” Id. (quoting H.J. Inc., 492 U.S. at 240). Continuity “refer[s] either to a

12   closed period of repeated conduct, or to past conduct that by its nature projects into the future with a threat of

13   repetition.” Id. (quoting H.J. Inc., 492 U.S. 241). When a RICO claim is brought alleging open-ended continuity, as

14   Plaintiffs bring in this action, “liability depends on whether the threat of continuity is demonstrated.” Id. at *24

15   (quoting H.J. Inc., 492 U.S. at 242).

16              Defendants first argue that Plaintiffs do not allege that the predicate acts were related to one another. Mot.

17   to Dismiss 16, ECF No. 79; Mot. to Dismiss 12, ECF No. 80. However, Plaintiffs have demonstrated that the

18   predicate acts alleged are related because these acts were performed with similar methods of commission, by

19   banning certain individuals and ideas from social media Platforms, and with similar purposes of suppressing speech,

20   controlling public narrative, and undermining American elections.

21              Defendants then argue that Plaintiffs have not demonstrated a threat of continuing activity. Mot. to

22   Dismiss 16, ECF No. 79; Mot. to Dismiss 12, ECF No. 80. However, Defendants admit that their banning Plaintiffs

23   and other conservative individuals while allowing terrorists, dictators, and foreign propagandists to remain on such

24   Platforms were done in accordance with their regular business practices. Mot. to Dismiss 16, ECF No. 79; Mot. to

25   Dismiss 12, ECF No. 80. While Defendants Twitter and Dorsey argue that Plaintiffs “incorporate[] facts

26   demonstrating that Twitter changed its policy relating to foreign terrorist organizations years ago,” Plaintiffs rather

27   explained that, as recently as August of 2021, “the Taliban in Afghanistan and its terrorist affiliates used Twitter and

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 1   Facebook applications to organize, implement, and procure substantial resources necessary to achieve the defeat of

 2   the United States and its allies in Afghanistan.” FAC ¶ 344. Therefore, because Defendants regularly coordinate

 3   with the government and other paying entities to determine which individuals and groups to permit on their

 4   Platforms, their predicate acts have a threat of continuing. Therefore, Defendants have demonstrated an ongoing

 5   pattern of racketeering activity.

 6            D. Defendants Engaged In Racketeering Activity.

 7            Plaintiffs have adequately alleged that Defendants engaged in racketeering activity (predicate acts).

 8   “Racketeering activity is defined to include a number of generically-specified criminal acts, as well as the

 9   commission of one of a number of listed predicate offenses.” Zapata v. Wells Fargo Bank, N.A., No. C 13-04288

10   WHA, 2013 U.S. Dist. LEXIS 173187, at * (N.D. Cal. Dec. 10, 2013) (citing 18 U.S.C. § 1961(1)). Included in this

11   list are indictable acts under 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1951 (interference with commerce by

12   threats or violence), and 18 U.S.C. § 1952 (interstate and foreign transportation in aid of racketeering enterprise).

13                     1.   Defendants Engaged In Racketeering Activity By Violating 18 U.S.C. § 1343.

14            Under 18 U.S.C. § 1343, “[a] wire fraud violation consists of (1) the formation of a scheme or artifice to

15   defraud; (2) use of the United States wires or causing a use of the United States wires in furtherance of the scheme;

16   and (3) specific intent to deceive or defraud.” Bonner v. Select Portfolio Servicing, Inc., No. 10-00609 CW, 2010

17   U.S. Dist. LEXIS 84857, at *20 (N.D. Cal. July 26, 2010) (quoting Odom, 486 F.3d at 554). Wire fraud requires the

18   intent “to deprive the victim of money or property by means of deception.” RJ v. Cigna Health & Life Ins. Co., No.

19   5:20-cv-02255-EJD, 2022 U.S. Dist. LEXIS 159152, at *14 (N.D. Cal. Sept. 2, 2022) (quoting United States v.

20   Miller, 953 F.3d 1095, 1102 (9th Cir. 2020)). “Allegations of predicate acts of mail and wire fraud in RICO claims

21   must be pled with specificity and satisfy the requirement of Rule 9(b) that the plaintiff ‘state with particularly the

22   circumstances constituting fraud.’” Fraser v. Team Health Holdings, Inc., No. 20-cv-04600-JSW, 2022 U.S. Dist.

23   LEXIS 60544, at *26 (N.D. Cal. Mar. 31, 2022) (quoting Alan Neuman Prods., Inc. v. Albright, 862 F.2d 1388,

24   1392 (9th Cir. 1988); Fed. R. Civ. P. 9(b)). “However, the particularity requirement does not apply to allegations of

25   fraudulent intent, which only must be ‘alleged generally.’” Id. (quoting Eclectic Props. E., LLC, 751 F.3d at 997).

26   “To be pleaded with particularity, allegations of fraud must ‘be specific enough to give defendants notice of the

27   particular misconduct . . . so that they can defend against the charge and not just deny that they have done nothing

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 1   wrong.'” Id. (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003)). “This includes alleging

 2   ‘”the who, what, when, where, and how” of the misconduct charged.’” Id. (quoting Vess, 317 F.3d at 1106).

 3            First, Plaintiffs have pleaded allegations of wire fraud with particularity. Each allegation of fraud –

 4   including that Defendants banned Plaintiffs, that Defendants coordinated with one another to de-platform Plaintiffs,

 5   and that Defendants intentionally deceived the public by making statements proclaiming that the public had a right

 6   to hear what politicians have to say before changing policies to de-platform Plaintiffs – have been stated with the

 7   date such conduct occurred, the location or meeting at which fraudulent statements were made, and the parties

 8   present or involved in the fraudulent actions. See FAC ¶¶ 223, 226, 230, 233-236, 238-239, 241, 242-244.

 9   Therefore, these allegations have been stated with such particularity that Defendants were put on notice of particular

10   misconduct.

11            Next, Plaintiffs have demonstrated that Defendants formed a “scheme or artifice [to defraud] by depriv[ing]

12   another of the intangible right of honest services.” FAC ¶ 290 (quoting United States v. Rybicki, 354 F.3d 124 (2d

13   Cir. 2003)). The scope of 18 U.S.C. § 1343 previously “encompassed only schemes to defraud another of money or

14   other property rights, but not schemes to defraud another of intangible rights.” United States v. deVegter, 198 F.3d

15   1324, 1327 (11th Cir. 1999). However, “’Congress passed [18 U.S.C. § 1346] to’ . . . extend[] wire fraud liability to

16   schemes to defraud another of intangible rights, including an intangible right of honest services.” Id. While

17   Congress has not expressly defined “honest services,” courts have interpreted the doctrine to apply to “[1]

18   government officials who defraud the public of their own honest services; [2] elected officials and campaign

19   workers who falsify votes and thereby defraud the electorate of the right to an honest election; [3] private actors who

20   abuse fiduciary duties by, for example, taking bribes; and [4] private actors who defraud others of certain intangible

21   rights, such as privacy.” Rybicki, 354 F.3d at 133 (quoting United States v. Handakas, 286 F.3d 92, 101 (2d Cir.),

22   cert. denied, 537 U.S. 894, 123 S. Ct. 168, 154 L.Ed.2d 160 (2002)). Further, an honest services scheme or artifice

23   is one which “use[s] the mails or wires to enable an officer or employee of a private entity (or a person in a

24   relationship that gives rise to a duty of loyalty comparable to that owed by employees to employers) purporting to

25   act for and in the interests of his or her employer (or of the person to whom the duty of loyalty is owed) secretly to

26   act in his or her or the defendant’s own interests instead, accompanied by a material misrepresentation made or

27   omission of information disclosed to the employer or other person.” Id. at 127. In this way, Defendants Facebook

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 1   and P&G schemed to deprive Ms. Loomer of her honest services because, when P&G provided a list of users for

 2   Facebook to ban and Facebook obliged, Ms. Loomer was deprived of her intangible right not to have her reputation

 3   damaged by being labeled a “Dangerous Individual” and de-platformed. Id. ¶¶ 234, 291-292.

 4            Next, Plaintiffs have shown that Defendants used the United States wires, or caused a use of the United

 5   States wires, in furtherance of the scheme. From October 2019 through June 2020, Defendant Facebook used

 6   television and electronic communications to deliver promises that political candidates would be permitted to use its

 7   Platform without worry that their speech would be suppressed. See FAC ¶¶ 297-299, 302.

 8            Finally, Plaintiffs have shown that Defendants had the specific intent to deceive or defraud Plaintiffs by

 9   depriving Plaintiffs of their property of honest services they would have had as users of Platforms after publicly

10   stating that political candidates would have the ability to use Facebook as a method of communicating their political

11   ideas. FAC ¶ 291, 297-299, 302, 305.

12            Therefore, Plaintiffs have adequately alleged that Defendants engaged in racketeering activity by violating

13   18 U.S.C. § 1343.

14                       2.   Defendants Facebook, Twitter, Dorsey, and Zuckerberg Engaged In Racketeering

15                            Activity By Violating 18 U.S.C. § 1951.

16            Plaintiffs have shown that Defendants committed extortion in violation of 18 U.S.C. § 1951. Extortion is

17   “the obtaining of property from another, with his consent, induced by wrongful use of actual or threatened force,

18   violence, or fear, or under color of official right.” 18 U.S.C. 1951(b)(2).

19            Defendants argue that Plaintiffs have not alleged that Defendants acted wrongfully, obtained Plaintiffs’

20   property, nor that Defendants used force, violence, or fear to do so. Mot. to Dismiss 19, ECF No. 79; Mot. to

21   Dismiss 29-31, ECF No. 80. However, Plaintiffs have alleged that Defendant Facebook commits extortion by

22   obtaining contractual, speech, and other rights and intellectual property from its users by threatening that it will ban

23   its users, label them as dangerous individuals, label them as users of hate speech, or label their content as false

24   information. See FAC ¶ 273, 276. Furthermore, Plaintiffs have alleged that Defendants Facebook, Twitter, Dorsey,

25   and Zuckerberg committed extortion through their conspiring, attempting, and obstructing, delaying and affecting

26   commerce by wrongfully using the fear of public disgrace and economic harm associated with being banned and

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 1   labeled a dangerous individual or group, under the color of official right, to obtain intangible property from Ms.

 2   Loomer, her associates, followers, and those similarly situated, with their consent. Id. ¶ 364.

 3            While Defendants Facebook and Zuckerberg argue that Plaintiffs did not allege any “preexisting legal right

 4   to access Facebook while violating its policies or to use Facebook without being deemed a dangerous individual

 5   under its Community Standards,” Plaintiffs have indeed shown that Facebook was acting as a State Actor in making

 6   its decisions to suppress Plaintiffs’ and others’ speech and to interfere in Ms. Loomer’s congressional elections. See

 7   id. ¶¶ 1-3. As a State Actor, Defendant Facebook was required not to violate its users’ First Amendment rights. See

 8   id. ¶¶ 27; Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1928 (1921). Therefore, Plaintiffs had the

 9   preexisting legal right to use the Platform, which Defendants wrongfully removed.

10            Defendants Facebook and Zuckerberg then argue that Plaintiffs’ speech rights are not items of value that

11   Defendants “could possibly obtain in order to ‘exercise, transfer, or sell.’” Mot. to Dismiss 19-20, ECF No. 80

12   (quoting Scheidler v. Nat’l Org. of Women, Inc., 537 U.S. 393, 404 (2003)). Defendants then state that Plaintiffs

13   cannot adequately plead extortion by alleging that Defendants “gain[ed] some speculative benefit” by restricting

14   Plaintiffs’ activities, and that Defendants “must actually appropriate (or attempt to appropriate) the victim’s

15   property.” Id. at 20 (quoting United States v. McFall, 558 F.3d 951, 957-58 (9th Cir. 2009)). However, Plaintiffs

16   have demonstrated that, by Defendants Facebook and Zuckerberg suppressing Plaintiffs’ speech rights, Defendants

17   gained the valuable benefit of P&G advertising on the Platform. FAC ¶¶ 233-234. In this way, Defendants obtained

18   valuable property from Plaintiffs.

19            Therefore, Plaintiffs have adequately alleged that Defendants committed extortion by obtaining property

20   from Plaintiffs by wrongfully threatening users and causing them to fear being de-platformed and labeled as

21   dangerous individuals. In doing so, Defendants engaged in racketeering activity by violating 18 U.S.C. § 1951.

22                     3.   Defendants Engaged In Racketeering Activity By Violating 18 U.S.C. § 1952.

23            18 U.S.C. § 1952 prohibits “us[ing] the mail or any facility in interstate or foreign commerce, with the

24   intent to . . . promote, manage, establish, carry on, or facilitate the promotion, management, establishment, or

25   carrying on, of any unlawful activity, and thereafter performs or attempts to perform” any unlawful activity

26   including extortion in violation of the laws of the State in which committed or of the United States.

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 1            Defendants Twitter and Dorsey argue that Plaintiffs’ allegations regarding 18 U.S.C. § 1952 “do not

 2   mention Twitter” and “cannot suffice to demonstrate that Twitter used ‘the mail or any facility in interstate or

 3   foreign commerce’ to carry out any ‘unlawful activity.’” Mot. to Dismiss 19, ECF No. 79. However, when

 4   Plaintiffs raised RICO as a cause of action and discussed interference with commerce by threats or violence,

 5   Plaintiffs repeated and re-averred every statement that was contained in paragraphs 216-261 and 279-287. FAC ¶

 6   363. In those paragraphs, Plaintiffs established that Defendants, including Twitter, committed extortion in violation

 7   of the laws of Florida, California, and the United States by using the mail, email, the internet, social media, and

 8   other facilities in interstate commerce to injure Plaintiffs’ reputation and to disgrace Plaintiffs by banning them from

 9   Defendants’ Platforms for “hateful” conduct and labeling Ms. Loomer as a dangerous individual. See id. ¶¶ 216-

10   220, 367-370.

11                      4.   Defendants Violated 18 U.S.C. § 2339B.

12            18 U.S.C. § 2339B prohibits “knowingly provid[ing] material support or resources to a foreign terrorist

13   organization, or attempt[ing] or conspir[ing] to do so,” with the “knowledge that the organization is a designated

14   terrorist organization . . . , that the organization has engaged or engages in terrorist activity . . . , or that the

15   organization has engaged or engages in terrorism.” Defendants Facebook and Zuckerberg argue that Plaintiffs have

16   not plausibly alleged that Defendants Facebook and Zuckerberg “knew that any particular account was affiliated

17   with an FTO and failed to remove it.” Mot. to Dismiss 20, ECF No. 80. Further, Defendants Facebook and

18   Zuckerberg claim that they actively remove terrorist content from Facebook, and that any remaining terrorist content

19   has simply been undetected by Defendants. Id. Defendants Twitter and Dorsey similarly argue that Plaintiffs have

20   alleged that members of the Taliban remain on Twitter, but that the Taliban is not a “designated foreign terrorist

21   organization.” Mot. to Dismiss 18, ECF No. 79. Defendants Twitter and Dorsey further state that they terminate

22   accounts affiliated with Hamas or Hezbollah. Id.

23            However, Plaintiffs have explained that Hezbollah and HAMAS maintained a widespread presence on

24   Facebook, YouTube, and Twitter, and that Al Aqsa and many of its leaders have Twitter feeds and Facebook pages.

25   FAC ¶ 312. It is unlikely that these feeds and pages remained undetected by Facebook and Twitter because

26   Defendant Facebook has automatically generated hundreds of business pages promoting ISIS and Al Qaida, allowed

27   them to be searchable and accessible for up to six weeks, and allowed users to like their pages, and because

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 1   Defendant Twitter permits accounts associated with political arms of Hamas, Hezbollah, and the Taliban to maintain

 2   Twitter accounts. Id. ¶¶313-314. While the Taliban in Afghanistan have not been officially designated as a Foreign

 3   Terrorist Organization by the United States, it has been listed as a terrorist organization by other government

 4   departments. Id. ¶ 315. Therefore, Plaintiffs have properly alleged that Defendants knowingly provided material

 5   support to foreign terrorist organizations by allowing such organizations to use the Platforms.

 6                     5.   Defendants Violated 18 U.S.C. § 2385.

 7            18 U.S.C. § 2385 prohibits “knowingly or willfully abet[ting] or teach[ing] the desirability or propriety of

 8   overthrowing or destroying the government of the United States of the government of any State, Territory, District,

 9   or Possession thereof, or the government of any political subdivision therein, by force or violence, or by the

10   assassination of any officer of any such government.” Further, it prohibits “whoever, with intent to cause the

11   overthrow or destruction of any such government attempts to publish, edit, issue, circulate, distribute, or publicly

12   display any written matter advocating, advising, or teaching the desirability or propriety of overthrowing or

13   destroying any government in the United States by force or violence.” Lastly, it prohibits “attempt[ing] to organize

14   or help any society, group, or assembly of persons who teach, advocate, or encourage the overthrow or destruction

15   of any such government by force or violence – or . . . knowingly affiliat[ing] or conspir[ing] with any such group.”

16            Defendants argue that Plaintiffs do not allege that Defendants advocated concrete violent action to

17   overthrow the United States government or that Defendants’ actions could cause an imminent rebellion. Mot. to

18   Dismiss 17-18, ECF No. 79. However, Plaintiffs have clearly demonstrated that Defendants attempted to overthrow

19   the government by silencing President Donald Trump while he was in office, despite Defendant Zuckerberg’s prior

20   statements that he would not censor President Trump nor other politicians. FAC ¶ 299, 326. Defendant Facebook’s

21   Chief Product Officer Chris Cox, reportedly one of the most powerful people at Facebook, even publicly stated that

22   “[Donald] Trump should not be our President” and that a campaign to spend millions on digital messaging to oppose

23   Donald Trump in the 2020 presidential election was “something I have wanted to work on for a while.” Id. ¶ 300.

24   Most recently, new Twitter owner and CEO Elon Musk publicly released internal Twitter documents exposing how,

25   in his own words, “Under pressure from hundreds of activist employees, Twitter deplatforms Trump, a sitting US

26   President, even though they themselves acknowledge that he didn’t violate the rules.” Elon Musk, Twitter (Dec. 12,

27   2022). Defendants engaged in this censoring of the President of the United States, while also advocating for the

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 1   violent overthrow of the government by permitting Iranian threats to assassinate Donald Trump, permitting

 2   thousands of tweets calling for Donald Trump’s assassination, and assisting in the violent Arab Spring revolution. 4

 3             Further, Plaintiffs state that Defendant Facebook facilitated the group Abolish ICE Denver and other

 4   Communist groups to organize gatherings outside the home of ICE warden Johnny Choate to harass and disrupt the

 5   lives of government officials and post direct threats, such as “FIRE TO THE PRISON” on these groups’ official

 6   Facebook pages and labeling the event “Confront La Migra Where They Live.” FAC ¶ 320. Defendant Facebook

 7   also refused to remove a page celebrating “dead cops” that was titled “The Only Good Cops Are Dead Cops” and

 8   that openly incited violence against police officers. Id. ¶ 322. Defendant Facebook subsequently deleted a

 9   Facebook events page of a group planning to hold a pro-police rally in Long Island, New York. Id. ¶ 324. In this

10   way, Defendant Facebook published and circulated written material which advocated for the destruction of ICE and

11   government law enforcement, and Defendant Facebook did so with the intent to cause the destruction of ICE and

12   law enforcement.

13             Defendants Twitter and Dorsey permitted the Taliban, specifically Zabihullah Mujahid, to use Twitter

14   accounts to provide updates and propaganda messaging in furtherance and support of the Taliban overthrow of the

15   United States governmental entities and interests in Afghanistan. Id. ¶ 329-330. By allowing the Taliban to

16   promote such views on Twitter, Defendants Twitter and Dorsey advocated concrete violent action against the

17   government, and the Taliban could have committed an imminent rebellion based on the Taliban’s message.

18             Therefore, because Defendants permitted and promoted the aforementioned pages and feeds, they intended

19   to cause destruction of government entities and published and circulated written information in furtherance of this

20   intent.

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      If Plaintiffs are permitted leave to amend their complaint, they will provide further evidence that Defendants
     advocated for and encouraged violent overthrow of the government. Adam Kredo, Twitter Allows Iranian Threats
25   To Assassinate Former President Trump, THE WASHINGTON FREE BEACON (Jan. 11, 2022),
     https://freebeacon.com/culture/twitter-allows-iranian-threats-to-assassinate-former-president-trump/; Sasha Lekach,
26   Over 12,000 Tweets Are Calling For Trump’s Assassination. Here’s How The Secret Service Handles It,
     MASHABLE (Feb. 2, 2017), https://mashable.com/article/threatening-posts-secret-service; Saleem Kassim, Twitter
27   Revolution: How The Arab Spring Was Helped By Social Media, MIC (July 3, 2012),
     https://www.mic.com/articles/10642/twitter-revolution-how-the-arab-spring-was-helped-by-social-media.
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 1       V.         Plaintiffs’ RICO Conspiracy Claim (Count II) Is Supported By Sufficient Facts And A

 2                  Cognizable Legal Theory For Relief.

 3       Federal RICO conspiracy may be established under 18 U.S.C. § 1962(d) and 18 U.S.C. § 1964(c) by showing

 4   either (1) “that the defendant agreed to the overall objective of the conspiracy,” or (2) “that the defendant agreed to

 5   commit two predicate acts.” Magnifico v. Villaneuva, 783 F. Supp. 2d 1217 (S.D. Fla. 2011). “Direct evidence of a

 6   RICO agreement is not required; rather it may be inferred from the conduct of the participants.” Id.

 7       Defendants argue that Plaintiffs have not stated a § 1962(d) conspiracy claim because they believe that

 8   Plaintiffs’ § 1962(c) claim fails. Mot. to Dismiss 20, ECF No. 79; Mot. to Dismiss 22, ECF No. 80. Defendants

 9   also claim that Plaintiffs did not allege that Defendants agreed to participate in a scheme, that they operated or

10   managed a RICO enterprise, or that Plaintiffs were injured by the predicate acts. Mot. to Dismiss 20, ECF No. 79;

11   Mot. to Dismiss 22, ECF No. 80.

12       However, Plaintiffs have adequately alleged in the Complaint, and stated in the arguments above, that

13   Defendants injured Plaintiffs by committing the predicate acts alleged. See FAC ¶¶ 216-253, 387. Plaintiffs have

14   also shown in the Complaint and above that Defendants agreed and conspired to violate 18 U.S.C. § 1962(c) by

15   participating in the conduct of the affairs of the Community Media Enterprise. Id. ¶¶ 383-385. Through this

16   Enterprise, Defendants operated and managed a RICO enterprise by directing other members of the Enterprise to

17   censor and ban certain speech and individuals. Id. ¶¶ 47-105, 386.

18       Therefore, Plaintiffs have shown that Defendants participated in a RICO conspiracy to violate 18 U.S.C. §

19   1962(c).

20                                                         Conclusion

21              For the foregoing reasons, Defendants’ motions to dismiss should be denied. Furthermore, if the Court

22   denies Defendants’ motions to dismiss, Plaintiffs intend to file a motion seeking leave to amend their complaint to

23   include newly revealed information from the recently released “Twitter Files” that are relevant and pertain to this

24   action.

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 1         Dated December 12, 2022.       Respectfully submitted,

 2

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 1                                             CERTIFICATE OF SERVICE

 2            I hereby certify that, on December 12, 2022, the foregoing document was filed via the Court’s electronic

 3   filing system, which constitutes service upon all counsel of record.

 4                                                                          /s/ John M. Pierce
                                                                            John M. Pierce
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